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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF OHIO

 SARA HAWES, individually, and on behalf of        Case No. 1:17-cv-00754
 all others similarly situated,
                                                   Judge Timothy S. Black
                 Plaintiff,

 v.

 MACY’S WEST STORES, INC.,

                 Defendant.




                   DEFENDANT’S MOTION TO STRIKE REPORT
               AND EXCLUDE OPINIONS OF MR. STEFAN BOEDEKER

       Defendant Macy’s West Stores, Inc., through undersigned counsel, respectfully moves the

Court for an Order striking the expert report and excluding the opinions of Plaintiff’s damages

expert, Stefan Boedeker, pursuant to Federal Rule of Evidence 702 and Daubert v. Merrell Dow

Pharms., Inc., 509 U.S. 579 (1993).

       For the reasons stated more fully in the supporting Memorandum filed contemporaneously

herewith and incorporated herein by this reference, Defendant respectfully requests that the Court

strike the report and exclude the testimony of Stefan Boedeker as incomplete and unreliable.
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    This the 3rd day of May, 2021.

                                     Respectfully submitted,

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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF OHIO

 SARA HAWES, individually, and on behalf of         Case No. 1:17-cv-00754
 all others similarly situated,
                                                    Judge Timothy S. Black
                 Plaintiff,

 v.

 MACY’S WEST STORES, INC.,

                 Defendant.




 DEFENDANT’S MEMORANDUM IN SUPPORT OF MOTION TO STRIKE REPORT
         AND EXCLUDE OPINIONS OF MR. STEFAN BOEDEKER

       Plaintiff cannot meet her burden to show that the opinions of her damages expert, Stefan

Boedeker, are reliable and relevant as required by Federal Rule of Evidence 702 and Daubert v.

Merrell Dow Pharms., Inc., 509 U.S. 579 (1993). Although Plaintiff contends that the putative

class paid more for sheets sold by Defendant Macy’s West Stores, Inc. that they believed had a

higher thread count, neither of Boedeker’s proposed methodologies would aid the Court in

determining whether class-wide damages are available in this case. Boedeker has not performed

a hedonic regression or a conjoint survey—he has only made incomplete proposals to do so.

Boedeker’s hedonic regression methodology is fatally flawed because, among other flaws, he

relies on pricing data that does not accurately reflect the prices paid by consumers and on randomly

selected attributes that will not accurately isolate any premium consumers pay for thread count.

Similarly, Boedeker’s conjoint analysis ignores the real world experience of sheet purchasing and

ignores or distorts fundamental economic principles in order to overestimate damages. Boedeker’s
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opinions are unreliable and irrelevant to the Court’s class-certification analysis. Boedeker has

failed to show that either method could be used in this case, and his opinions must be excluded.

I.       BACKGROUND

         Plaintiff retained Stefan Boedeker, a statistician and an economist, to determine whether

“it is possible to quantify economic losses to consumers, including Plaintiff[] and the [putative]

class” and to “provide a framework for the computation of class-wide damages.” Expert Report

of Stefan Boedeker (“Report”) ¶¶ 2, 11, DE 84-4; see also Transcript of Boedeker Deposition

(“Boedeker Tr.”) 68:11-15, attached as Ex. 1. Boedeker drafted a report outlining two

methodologies, which he purports could be used to demonstrate class-wide damages.

         Boedeker proposes that he could calculate class-wide damages using a Bayesian Hedonic

Regression. Report § 4.1. A hedonic regression is a statistical methodology that may be used to

“isolate the contribution of a particular attribute to the price of a product that has many attributes.”

In re Macbook Keyboard Litig., No. 5:18-CV-02813-EJD, 2021 WL 1250378, at *4 (N.D. Cal.

Apr. 5, 2021); Expert Report of Sean Iyer (“Iyer Report”) ¶ 52. Boedeker seeks to isolate the

contribution of a sheet’s thread count to the overall price of a set of sheets. Boedeker suggests he

would observe consumers’ purchases of a cross-section of bed sheets, using datasets Defendant

provided during discovery. See Report § 4.1.2. Using the sheets’ prices as the dependent variable

and the various attributes comprising the sheets (e.g., thread count, size, weave) as the independent

variables, Boedeker contends that he would conduct a regression to determine the effect that thread

count has on the price consumers are willing to pay. See Report ¶¶ 58-60.

         Boedeker also opines that he could calculate economic loss to consumers by performing a

Choice-Based Conjoint analysis. Report § 4.2. Unlike hedonic regression, which relies on

existing customer data, a conjoint analysis uses consumer surveys to gather data about consumer



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preferences for different attributes of a product. Report ¶ 79; Boedeker Tr. 77:22-24. Boedeker

would then analyze the survey results to evaluate consumers’ willingness to pay for a product and

its specific attributes. See Report ¶¶ 85-86.

        Boedeker has not performed either analysis. Iyer Report ¶ 11 (“Mr. Boedeker has not

actually done any empirical analysis. He has not actually conducted a conjoint analysis-based

survey, only said that he intends to do one. Nor has he actually analyzed any transactional data.”).

Although Boedeker performed a “preliminary analysis” of Defendant’s datasets to assess the

correlation between ticket price and thread count, he has not performed the actual regression

analysis needed to isolate the contribution of thread count to a sheet set’s overall price. Nor has

he conducted the conjoint survey—in fact, he has not even designed the survey at this stage. See,

e.g., Boedeker Tr. 112:21-22 (“I have not, not designed the conjoint menus yet . . . .”).

II.     LEGAL STANDARD

        In performing its “rigorous analysis” of Rule 23’s requirements, a trial court “must resolve

any material evidentiary disputes,” including those related to expert testimony. In re Polyurethane

Foam Antitrust Litig., 314 F.R.D. 226, 236 (N.D. Ohio 2014). The holding in Daubert thus applies

at the class certification stage where, as here, an expert’s report is “critical to class certification.”

Kondash v. Kia Motors Am., Inc., No. 1:15-CV-506, 2020 WL 5816228, at *6-7 (S.D. Ohio Sept.

30, 2020) (applying Daubert at class certification stage); see also Wal-Mart Stores, Inc. v. Dukes,

564 U.S. 338, 354 (2011) (“The parties dispute whether [a particular expert’s] testimony even met

the standards for the admission of expert testimony under Federal Rule of Civil Procedure 702 and

our Daubert case. The District Court concluded that Daubert did not apply to expert testimony at

the certification stage of class-action proceedings. We doubt that is so, but even if properly

considered, [the expert’s] testimony does nothing to advance respondents’ case.” (emphasis



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added)); In re Lamictal Direct Purchaser Antitrust Litig., 957 F.3d 184 (3d Cir. 2020) (finding

abuse of discretion in failure to address challenge to plaintiffs’ expert report at class certification);

Am. Honda Motor Co. v. Allen, 600 F.3d 813, 815-16 (7th Cir. 2010) (requiring district court to

resolve challenges to expert’s report when expert’s report is “critical to class certification”).1

        A trial court has a duty to act as a “gatekeeper” by “ensuring that an expert’s testimony

both rests on a reliable foundation and is relevant to the task at hand.” Daubert v. Merrell Dow

Pharms., Inc., 509 U.S. 579, 597 (1993). A trial court may only admit an expert witness’s

testimony if it meets the requirements of Federal Rule of Evidence 702, meaning that (1) the

expert’s specialized knowledge will help the trier of fact to understand the evidence or determine

a fact in issue; (2) the testimony is based on sufficient data or facts; (3) the testimony is the product

of reliable principles and methods; and (4) the expert has reliably applied the principles and

methods reliably to the facts of the case. The Sixth Circuit has identified “red flags” that

demonstrate a lack of reliability, including “insufficient information about the case,” “failure to

consider other possible causes,” and “lack of testing.” Kondash, 2020 WL 5816228, at *5 (citing

Best v. Lowe’s Home Ctrs., Inc., 563 F.3d 171, 177 (6th Cir. 2009)). Boedeker’s Report raises

those red flags.




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   The Sixth Circuit has not yet definitively stated whether Daubert applies at class
certification. See Hicks v. State Farm Fire & Cas. Co., 965 F.3d 452, 465 (6th Cir.
2020). Defendant respectfully submits that the better-reasoned decisions are those, such as
Kondash, that apply the standard when a plaintiff relies on expert testimony to establish class
certification. Even courts that have concluded that a standard less exacting than Daubert governs
at class certification scrutinize whether an expert’s opinion is sufficiently reliable for purposes of
Rule 23. See, e.g., In re Behr Dayton Thermal Prod., LLC, No. 3:08-CV-326, 2015 WL 13651286,
at *6 (S.D. Ohio Feb. 27, 2015) (“[A]t the class certification stage, the relevant inquiry is ‘whether
an expert’s opinion [is] sufficiently reliable to admit for the purpose of proving or disproving Rule
23 criteria, such as commonality and predominance.’” (alteration in original) (quoting Tait v. BSH
Home Appliances Corp., 289 F.R.D. 466, 495 (C.D. Cal. 2012))). Regardless of the standard,
Boedeker’s opinions are not sufficiently reliable and should not be considered.
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III.   ARGUMENT

       a. Boedeker’s proposed hedonic regression analysis is incomplete and unreliable.

                i. Boedeker’s failure to conduct a regression analysis renders his opinion “so
                   incomplete as to be inadmissible as irrelevant.”

       Boedeker’s opinion that a hedonic regression could be used to calculate damages must be

excluded because he has not conducted any regression analysis and therefore cannot show that

such an analysis could be used to calculate class-wide damages in this case. See Iyer Report ¶ 11

(“Mr. Boedeker has not actually done any empirical analysis. . . . Instead, he recites a summary of

general approaches to hedonic pricing along with a superficial and incomplete explanation of what

explanatory variables he may use.”). At most, Boedeker has conducted a “preliminary analysis”

of datasets that Defendant produced in discovery by comparing the prices of sheet sets with

different thread counts. Report ¶¶ 71-74. From this initial review, he concludes that “the higher

the thread count, the higher prices are,” based on a positive correlation between price and thread

count. Report ¶ 74; Boedeker Tr. 93:13-94:7 (testifying that data shows that “keeping other things

equal,” a higher thread count is associated with better quality and higher prices); Iyer Report ¶ 49

(“[Boedeker] posits—in the most general terms—exemplary relationships.”). Boedeker assumes

that he will be able to “test different model specifications” using hedonic regression. Report ¶ 76.

       An expert’s opinion that a regression model may work is not sufficient to demonstrate that

a model will work. “[R]egression analysis is not a magic formula. It is simply a mathematical

tool for estimating a dependent variable based on a number of independent variables, which may

or may not yield statistically significant results.” Piggly Wiggly Clarksville, Inc. v. Interstate

Brands Corp., 100 F. App’x 296, 299 (5th Cir. 2004); see also Iyer Report ¶ 12 (“Any claim

that . . . hedonic pricing [is a] well known approach[] and therefore applicable in the instant matter

is a red herring and irrelevant. What is important is the specific application of [the] model to the


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context at hand to see if the predictions of the models work.”). Accordingly, courts have stricken

expert opinions like Boedeker’s that merely provide a “preliminary overview of how damages

might be calculated.” Piggly Wiggly, 100 F. App’x at 299 (affirming district court’s decision to

strike damages expert’s regression opinion at class certification stage where expert’s opinion

opined that a formula could be found, but did not offer an actual formula).

       As a further example, a court in the Central District of California struck a damages expert’s

testimony in In re ConAgra Foods, Inc., 302 F.R.D. 537 (C.D. Cal. 2014), because the expert had

not actually performed the hedonic regression he proposed. Like Boedeker, the expert in ConAgra

testified that a hedonic regression model could be used to calculate class-wide damages. But the

expert failed to (1) identify or define the relevant variables that he would use in his model;

(2) confirm that the data required to execute his analysis existed or was obtainable; or (3) identify

the set of products he would use in his analysis. Id. at 551. The court recognized that “[a]lthough

the methodologies he describes may very well be capable of calculating damages in this action,

Weir has made no showing that this is the case.” Id. at 552. Without that showing, the expert’s

testimony was, as here, “so incomplete as to be inadmissible as irrelevant.” Id. (quoting Hemmings

v. Tidyman’s Inc., 285 F.3d 1174, 1188 (9th Cir. 2002)).

       Like in ConAgra, Boedeker’s general opinion that a hedonic regression may be possible is

insufficient to show that the model will effectively calculate class-wide damages in this case. At

most, Boedeker suggests he will “consider a regression equation where Price is a function of

Thread Count and certain attributes, like, for example, Weave, Size, [and] Origin.” Report ¶ 77.

But other than providing these general examples, Boedeker has not identified the specific attributes

he would use in his analysis, and concedes that he would need to run an “exploratory data survey”

to determine which of the numerous bedsheet attributes are important to customers. See Boedeker



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Tr. 194:16-20; Iyer Report ¶ 49; see also Declaration of Danielle Swift ¶ 7 (“Swift Decl.”)

(explaining that Defendant has purchased at least 625 different CVC products from AQ Textiles

for sale since 2013). Because Boedeker does not know which attributes he will need to include in

his analysis, Boedeker has no way of knowing whether the data required to execute his analysis is

available. Iyer Report ¶¶ 44-45 (explaining that because “Mr. Boedeker has not done any of the

steps recommended by Dr. Rao, he does not—and cannot—know the set of salient attributes

important to consumers.”); id. ¶ 53 (“[W]ith several sheet characteristics, it is difficult to choose

which variables to test without involving subjective judgments of the variables’ importance. These

are important considerations before selecting the hedonic regression method.”).

        Because Boedeker has not conducted any analysis, Boedeker has not demonstrated that he

will actually be able to use hedonic regression to isolate the effect of thread count on price. As

Defendant’s expert, Sean Iyer, explains, possible multicollinearity can lead to erroneous

conclusions about how thread count affects prices. Id. ¶ 55. “Multicollinearity refers to a situation

in which more than two explanatory variables in a multiple regression model are linearly related.”

Id. ¶ 54. For example, fabric type and thread count may display multicollinearity “either because

they are related or because they are both a proxy for a ‘hidden’ characteristic, such as touch and

feel.” Id. Put otherwise, thread count may be highly related to another bedsheet characteristic,

rendering it impossible to separate the value consumers place on thread count from the value

consumers place on other characteristics. See id. ¶ 55.

        Boedeker does not sufficiently account for the possibility that multicollinearity could

render his hedonic regression useless. Id. ¶ 56. Although he notes that multicollinearity “could

arise if the attribute of interest is correlated with another attribute,” he does not yet know the effect

it will have on his analysis. Report ¶ 63. Instead, he leaves this issue for a later date, explaining



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that he “will apply statistical tests to determine whether . . . multicollinearity [is] of issue” in his

analysis. Id. Thus, because he has not performed any such analysis, Boedeker has not shown that

hedonic regression will be a reliable method to assess damages. Iyer Report ¶ 56.

       Finally, Boedeker’s hedonic regression analysis might be much more complex than he

claims. Boedeker opines that a single regression will be sufficient, but he concedes that it is

possible that multiple regressions will be necessary. Boedeker Tr. 71:18-72:3. Although Boedeker

maintains that “the methodology itself would work,” he offers nothing to support that claim.

Id. 72:6; Iyer Report ¶ 50 (“Mr. Boedeker has not proposed a model that would apply to the

instance case, just a very general one that is not specified.”). To the contrary, a hedonic regression

would likely involve multiple tests to assess the impact of each characteristic on the price of sheets.

Iyer Report ¶¶ 52-53. But each test lowers the final confidence level of the model and requires

further statistical analysis. Id. ¶ 53. Boedeker does not address these potential impediments, id.,

much less perform any further statistical analysis.

       Because Boedeker has not performed any hedonic regression analysis, the Court cannot

sufficiently evaluate whether his preliminary analysis is reliable and relevant to this case. As

described above, Boedeker’s hedonic regression could run into any number of problems, and there

is no guarantee that he will be able to calculate damages. See Piggly Wiggly, 100 F. App’x at 299;

Iyer Report ¶¶ 51 (“[T]he few paragraphs Mr. Boedeker spends on hedonic prices are too vague

to be of any real use in determining whether he can reliably compute economic loss for putative

class members.”). Boedeker’s incomplete opinion should be excluded.

                   ii. The little work Boedeker has performed demonstrates that his hedonic
                       regression analysis will be unreliable.

       Even if Boedeker’s preliminary overview could somehow constitute a workable model for

hedonic regression—which it cannot—it is unreliable. There are two fatal flaws with Boedeker’s


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proposal: (1) he intends to use price data that does not reflect the actual amounts paid by

consumers; and (2) he fails to take into account differences between the sheets’ attributes.

       First, Boedeker intends to use Defendant’s datasets as the underlying data in his regression

analysis. Report ¶ 73. But these datasets only include the “ticket price” of the sheets. Boedeker

Tr. 156:19-24, 167:23:2. A ticket price is the price of the sheets without any markdowns, rebates,

sales, or other adjustments. The ticket price does not reflect the price a consumer actually paid for

the sheets. In fact, Defendant’s customers often pay much less for sheets because of Defendant’s

frequent sales, promotions, and coupons. See Swift Decl. ¶ 22 (“Macy’s offers frequent sales,

promotions, and coupons. Sheets are one of the items that are frequently placed on sale.”).

       By using ticket price, rather than the actual sale price, Boedeker’s regression analysis

begins from the wrong starting point. Boedeker’s analysis is based on the erroneous assumption

that every putative class member paid full price for their sheets. This assumption will inflate the

damages for customers who did not pay full price because it will overestimate the value these

customers assign to thread count. Accordingly, Boedeker’s hedonic regression opinion will be

unreliable, and should be excluded under Federal Rule of Evidence 702 on this basis alone.

       Second, Boedeker’s proposed analysis is unreliable and must be excluded because he uses

overly broad categories of attributes and excludes other important attributes from his analysis.

Courts have excluded expert regression opinions that exclude major variables, recognizing that the

omission of major attributes affects the entire integrity and reliability of the regression. See, e.g.,

Reed Constr. Data Inc. v. McGraw-Hill Cos., 49 F. Supp. 3d 385, 401 (S.D.N.Y. 2014) (excluding

regression analysis under Daubert for failure to include major variable); see also In re REMEC

Inc. Sec. Litig., 702 F. Supp. 2d 1202, 1273 (S.D. Cal. 2010) (excluding expert report and noting

“where significant variables that are quantifiable are omitted from a regression analysis, the study



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may become so incomplete that it is inadmissible as irrelevant and unreliable”); see also Iyer

Report ¶ 53 (“[W]ith several sheet characteristics, it is difficult to choose which variables to test

without involving subjective judgments of the variables importance.”).

       Likewise, the Northern District of New York excluded an expert’s hedonic regression

opinion in a vodka-labeling case, where the expert made “little attempt to identify a relevant set of

product attributes,” instead merely offering a “few suggestions.” Singleton v. Fifth Generation,

Inc., No. 5:15-CV-474 (BKS/TWD), 2017 WL 5001444, at *22 (N.D.N.Y. Sept. 27, 2017). The

expert also failed to include a “key attribute”: product quality. Id. The court found that the expert’s

analysis was “too superficial to support the proposed [hedonic regression] model,” and “failed to

show that the proposed hedonic regression model may be used to measure damages tied to the

class’s theory of injury.” Id. The proponent of the expert bears the burden of showing that all

major attributes have been accounted for in a regression analysis. In re REMEC, 702 F. Supp. 2d

at 1273. Plaintiff has failed to meet that burden.

       Like in Singleton, Boedeker merely offers suggestions of attributes he may consider.

Report ¶ 77 (explaining regression would consider “certain attributes, like, for example, Weave,

Size, Origin”). And in conducting his “preliminary analysis” of whether higher thread counts

correlated with higher prices, Boedeker also fails to accurately define his attributes, further

rendering his analysis unreliable. Although Boedeker claims he only included king-sized sheets

in his analysis, he testified that does not know whether he also included California king–sized

sheets. Boedeker Tr. 169:7-16. Boedeker also does not know if he distinguished between sets of

sheets that included two pillowcases from sets that included four pillowcases. Id. 169:20-25.

       Boedeker also excluded important attributes from this preliminary analysis. For example,

Boedeker excluded sateen sheets based on his mistaken belief that sateen sheets are “not one of



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those cotton polyester mixes” at issue in this case. Boedeker Tr. 168:17-21. Sateen is not a fiber

but a weave, however, and thus should be included as an attribute in the regression analysis. See

Transcript of Ciniglo Deposition 53:11-15, attached as Ex. 2; Exhibit A to Swift Decl. (example

of CVC sheets with sateen finish). Boedeker has also failed to consider testing color availability

as an attribute, despite Plaintiff’s testimony that the color of the sheets is the primary attribute she

considers when purchasing sheets. Transcript of Hawes Deposition 35:20-23 (“Q. So describe to

me the kind of bed sheets that you like to buy? A. I look for a certain hue of gray. That’s what I

look for first.”), attached as Ex. 3. Boedeker also did not consider numerous other attributes that

may affect price, such as whether the sheets are sure-fit, organic, Oeko-Tek, cooling, performance,

or easy care. See, e.g., Swift Decl. ¶ 18 (outlining myriad sheet attributes); see also generally

Declaration of Sal Ciniglio and Exhibits (attaching various inserts showing sheet attributes).

        Boedeker has not accurately defined the attributes he will use and has omitted other

important attributes. Boedeker’s analysis is “too superficial” to support his proposed regression

analysis and will be unreliable. His opinion should be excluded under Rule 702.

        b. Boedeker’s failure to design a survey or to consider important attributes renders
           his conjoint analysis incomplete and unreliable.

                    i. Boedeker has not even designed his conjoint survey, and his opinion is thus
                       inadmissible.

        Boedeker’s proposed conjoint analysis is also incomplete and should be excluded on this

basis alone. Boedeker has not surveyed a single participant. He has not even designed the survey

and would need to do additional research and analysis before doing so. Boedeker Tr. 103:15-18

(“Q. In the conjoint analysis, you would include all of the thread counts for every sku that’s at

issue in the case? A. I have not gone to that level to make a decision about that, simply because I

have not researched and analyzed the data. But whatever the data require, that’s how I will design

the conjoint analysis.”); id. 143:8-10 (“Again, I haven’t designed the study . . . .”); Iyer Report

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¶ 11. Neither has Boedeker identified a target population for the survey or even decided whether

the survey will focus on California residents. E.g., Boedeker Tr. 187:18-20 (Q. “[D]o you have

any idea what the average age of Macy’s customers is? A. I have not the slightest idea, no.”); see

also id. 116:9-15 (“Q. Have you determined whether you’ll be able to design your study so that

they only address sheets sold in California? A. . . . [T]he conjoint study in defining the type of

population, could be focusing on people that bought sheets in California.”).

       Boedeker is also not sure which attributes he would use for the survey. Id. 112:19-22 (“Q.

Have you considered what attributes you would need to test in the conjoint analysis? A. I have not,

not designed the conjoint menus yet.”); Iyer Report ¶ 42. Although he includes a “rough outline”

of potential attributes in his report, see Boedeker Tr. 190:2-6; Report ¶ 142, Boedeker testified that

he “would have to do more research” to determine which attributes to include. Boedeker Tr. 97:20-

25. He estimates that he might choose five or six options, although he has not decided. Report

¶ 119; Boedeker Tr. 176:4-8. Nor has Boedeker addressed how he might deal with hypothetical

bias in his survey. Iyer Report ¶¶ 47-48.

       Boedeker’s skeletal proposal does not satisfy Daubert. Because he has not completed even

the preliminary research necessary to design a conjoint survey, Boedeker has no idea what

attributes customers find important to sheet choice. See Iyer Report ¶¶ 43-44. Like in ConAgra,

in which the Central District of California also excluded the expert’s conjoint analysis, Boedeker

“has not determined the characteristics of the survey sample he would use in the analysis, the list

of relevant product attributes, the sample size of the survey, or whether he would conduct separate

surveys in each proposed class state or one large multi-state survey.” ConAgra, 302 F.R.D. at 551;

see also Iyer Report ¶¶ 42-44 (describing process for attribute selection in conjoint analysis). His




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opinion should therefore be stricken because it is “so incomplete as to be inadmissible as

irrelevant.” ConAgra, 302 F.R.D. at 552 (citation omitted).

       Because Boedeker’s opinion is incomplete, the Court cannot satisfy its duty as

“gatekeeper.” To illustrate, as discussed below, infra Section III.c.iv, an important question in

evaluating the admissibility of a conjoint analysis is whether the expert has accurately accounted

for supply-side considerations.    Thus, before finding that an expert’s conjoint analysis is

admissible, the trial court must evaluate whether the analysis integrates “accurate supply-side

considerations.” See MacDougall v. Am. Honda Motor Co., No. SACV 17-1079 JGB (DFMx),

2020 WL 5583534, at *6 (C.D. Cal. Sept. 11, 2020) (collecting cases excluding expert opinions

for failure to consider supply-side considerations) (emphasis in original). In MacDougall, another

case in which Boedeker testified as an expert at the class certification stage, the defendants

challenged whether Boedeker had accurately reflected supply-side considerations in his survey.

Id. at *5. In MacDougall—unlike here—Boedeker actually designed and distributed the conjoint

survey prior to the class certification stage. Id. at *5. The court evaluated the survey itself and

determined that the price values Boedeker had assigned to the different options did not reflect

market realities. Id. at *6. Because of those failings, the court struck Boedeker’s opinion.

       The Court cannot even consider whether supply-side considerations have been met because

Boedeker has not designed a survey at all. Although Boedeker contends that he will consider the

supply side by using prices from “product offerings that occurred in the actual world,” Boedeker

Tr. 129:1-6, there is no way for the Court to evaluate that statement because Boedeker has not

designed the survey. Boedeker’s conjoint opinion is “so incomplete as to be inadmissible as

irrelevant,” and should be stricken. ConAgra, 302 F.R.D. at 552.




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               ii. Boedeker’s proposed survey cannot account for hand feel.

       Even if Boedeker’s report could constitute a “model” for calculating damages, it would

still fail Daubert because Boedeker’s online survey cannot accurately replicate a critical attribute

that consumers evaluate in selecting sheets for purchase: hand feel. This omission provides yet

another reason that Boedeker’s survey is unreliable and must be stricken.

       Boedeker proposes that the conjoint survey would be conducted online. Report ¶ 126;

Boedeker Tr. 187:9-11. But the Third Amended Complaint only alleges that the purported class

purchased sheets in store; the allegations of the Third Amended Complaint do not encompass

online purchases. See Third Amended Compl. ¶ 12 (alleging Plaintiff purchased sheets in the

Macy’s store). Thus, the survey would not represent the putative class’s actual, in-store experience

purchasing sheets, which includes being able to feel the sheets they are considering purchasing.

       Although Boedeker brushes off hand feel as a “subjective” consideration, he

underestimates the importance of this attribute in the bedding industry. Boedeker Tr. 146:5-147:8.

Stores purposefully display sheets in unsecured zippered pouches that allow customers to open the

packaging to feel the sheets. See Swift Decl. ¶¶ 12, 14. Defendant recognizes that a sheet’s hand

feel is very important to customers when purchasing sheets, and can play a significant role in a

customer’s decision to purchase sheets. See id. When deciding whether to order sheets, Defendant

considers whether the sheets have a “pleasing feel” that “will be appealing to customers.” Id. ¶ 14.

       An online survey cannot at all replicate hand feel, and Boedeker has not attempted to

account for this failing. This is unsurprising, however, given that Boedeker is not aware of how

sheets are packaged or the importance of this attribute; indeed, Boedeker never purchased a set of

sheets himself or visited a bedding department. Boedeker Tr. 87:8-16. He concedes that he




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“ha[s]n’t studied the impact of” hand feel. Id. 146:18-23. Nor has he ever seen the packaging for

any of the sheets at issue in this matter. Id. 89:12-15.

       This is not the first time Boedeker’s opinions have failed to justify his attribute selection

for a conjoint analysis. In Townsend v. Monster Beverage Corp., 303 F. Supp. 3d 1010 (C.D. Cal.

2018), the Central District of California found Boedeker’s opinion insufficient, in part because

Boedeker “fail[ed] to include attributes deemed important purchase drivers,” thus “artificially

inflat[ing] the importance of and dr[awing] undue attention to the limited attributes presented to

respondents in the conjoint analysis.” Id. at 1049. And in Townsend, Boedeker actually designed

and distributed the conjoint survey prior to the class certification stage. Id. at 1020. If allowed to

proceed, Boedeker’s opinion threatens to have the same effect here (albeit while having done even

less work than in Townsend): because he fails to account for hand feel, his survey will

overemphasize the importance of other attributes, such as thread count. Boedeker’s conjoint

analysis opinion should be excluded for this additional reason.

              iii. Even if he had designed a survey, Boedeker has not demonstrated that his
                   proposed conjoint analysis could determine damages.

       Even if Boedeker had designed a conjoint survey, his proposed analysis includes numerous

pitfalls that render it unsuitable for calculating damages here. First, Boedeker has not shown if it

is even possible to isolate thread count from other sheet attributes. Iyer Report ¶ 46. In order for

a conjoint analysis to succeed, each attribute must be “independent.” Id. (citing a paper Boedeker

himself cites: Byran Orme, “Formulating Attributes and Levels in Conjoint Analysis,” Sawtooth

Software Research Paper Series, p. 1 (2002)). But because Boedeker has not completed any

analysis, he has not shown that thread count can be disentangled from other attributes, such as

touch and feel. Id. ¶ 45. Accordingly, his opinion is not sufficiently reliable and should be

excluded.


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       Second, even if Boedeker’s conjoint analysis were successful—which he has not shown is

even possible—it will not result in a damages calculation tied to any consumer’s economic loss.

Boedeker contends that he will be able to use a Hierarchical Bayes Estimation with Gibbs

Sampling to determine the difference in value a customer would assign a product without

misrepresentations.    Report ¶¶ 88-96.     In short, Boedeker contends he can determine the

“partworth” of bedsheets’ attributes, such as thread count. Report ¶ 82. But any individual survey

respondent’s answer will depend on every other respondent’s answer choices. As Iyer explains:

       [I]f respondent Sue entered Mr. Boedeker’s survey and gave certain answer
       choices, then Sue’s estimated “partworths” would depend on respondent Jack’s
       answer choices and every other respondent’s answer choices. . . . Thus, respondent
       Sue may not care to pay more for higher thread levels, but Mr. Boedeker’s
       methodology would suppress that information because her “partworth” for thread
       counts would depend on Respondent Jack’s partworth and every other respondents’
       parthworth for thread counts.

Iyer Report ¶ 33. As a result, rather than reaching a single value appropriate for all customers,

Boedeker’s method would result in an average value of damages for all customers. Id. ¶ 35. This

single figure is not related to the harm of any particular class member. Id. ¶¶ 36, 39, 41. Nor can

Boedeker show that the proposed class suffered a common impact from Defendant’s actions. Id.

¶ 41. Boedeker’s conjoint opinion is not helpful to the Court’s analysis, because it does not aid

the Court in determining whether damages are available on a class-wide basis.

              iv. Boedeker ignores fundamental economic principles in order to inflate
                  damages.

       The little analysis Boedeker provides shows that he has warped supply-side considerations

in his model to Plaintiff’s advantage in a way that does not at all reflect reality. Boedeker contends

he will be able to construct a hypothetical demand curve for bedsheets in a “but-for” world, i.e.,

the world in which customers had an “accurate” thread count. Report ¶ 22. But Boedeker’s model




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focuses exclusively on the demand curve. Id. ¶ 37 & fig. 1. Boedeker’s proposed model will

overestimates damages and is thus unreliable.

       The first lesson in any economics class is that as the price of a good increases, consumer

demand for that good decreases (the “demand curve”), and as the price of a good increases,

manufacturers’ willingness to supply that good increases (the “supply curve”); the “market

equilibrium” price is where the two curves meet. Iyer Rep. ¶ 20 & fig. 1. In most cases, if the

demand curve shifts, so will the supply curve. If demand for bedsheets decreased, manufacturers

would respond by reducing the supply. Iyer Report ¶ 24. The market price for bedsheets would

reach a new equilibrium, i.e., the new intersection of the supply and demand curves.

       Boedeker’s analysis would only account for the shift in demand. He intentionally fixes the

supply side by assuming—without any basis in economic principle—that Defendant would have

sold the same quantity of sheets in the “but for” world as it did in the “actual world.” Report ¶ 36;

Iyer Report ¶ 23. As a result, rather than an upward sloping supply curve, Boedeker assumes that

the supply curve for sheets is perfectly vertical, meaning that no matter the demand, the amount of

sheets in the market will always stay the same. Iyer Report ¶ 23.

       A vertical supply curve is only appropriate in limited circumstances not at issue here.

Generally, a vertical supply curve applies when the nature of the product is perfectly inelastic,

meaning that the supply is fixed regardless of price. Id. ¶¶ 23-24. For example, a rare piece of art

has a vertical supply curve; regardless of the demand, the supply is always the same because there

is only one of that piece of art. Id. ¶ 24. In contrast, sheets are easily duplicated and manufacturers

can easily expand or reduce production, so the supply curve will shift with the demand curve. Id.

       Boedeker does not offer an economic justification for ignoring supply. Although he

contends that he does not need to take into account the shape of the supply curve because his “focus



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is to determine a price in the But-For-World for the units sold in the Actual World,” this reasoning

merely reflects his understanding of how damages should be calculated. Report ¶ 52. Nowhere

in his report does Boedeker offer a justification rooted in economic principles.

       Because Boedeker uses a vertical supply curve, his “model” will always result in a lower

price as demand falls. Iyer Report ¶ 25. Boedeker’s model will always find that there are damages

and is thus biased in favor of Plaintiff. And his reliance on a vertical supply curve means that he

overestimates damages. If demand fell, manufacturers would also reduce supply, thus mitigating

the decrease in price. Id. ¶ 26. By ignoring the possibility that demand would shift, Boedeker

overestimates damages. Id. ¶ 27.

       The Southern District of New York illustrated this effect in a simple graph:




In re Gen. Motors Ignition Switch Litig., 427 F. Supp. 3d 374, 385 (S.D.N.Y. 2019); see also Iyer

Report ¶ 26 fig. 2. As demonstrated above, the new market price (i.e., the new intersection of

supply and demand—which follows basic economic principles) is higher than the price taking into

account demand alone (which Boedeker proposes without justification). This is because “the

sellers might not be willing to accept the price that the quantity of buyers of non-defective products



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are willing to pay for defective products, except at much lower quantities. In other words, sales of

products with known defects would not occur in the market at that price.” Id. at 385-86.

       This would not be the first case in which Boedeker’s opinion was excluded for failure to

adequately account for supply-side considerations. The Southern District of New York expressly

rejected Boedeker’s use of a vertical supply curve. In In re General Motors, Boedeker asked

respondents how they would value a car with a disclosed side airbag defect. Id. at 384. He then

constructed a hypothetical demand curve for vehicles without the defect in the “but-for” world.”

Id. at 385-86. Like here, Boedeker’s model only focuses on changes to the demand side, and fixes,

without justification, a vertical supply curve. Id. Although the General Motors plaintiffs argued

that a vertical supply curve was necessary “in light of the ‘mandate to construe damages broadly,’”

the court rejected that argument under California law, which requires a court to consider a seller’s

willingness to sell when calculating damages. Id. at 386 (citing Cal. Civ. Code § 1760). Although

the court acknowledged that a damages model using a vertical supply curve “could conceivably

succeed,” it would have to be “supported by evidence that, in fact, sellers would accept anything

consumers are willing to pay.” Id. There is no such evidence here. Indeed, as explained by Iyer,

a vertical supply curve is “typically limited to rare art or ancient artifacts.” Iyer Report ¶ 24. There

is no basis in economics, law, or fact, for comparing bedsheets to rare art or ancient artifacts.

       Just last year, the Central District of California excluded Boedeker’s expert report in

support of class certification, finding that his failure to account for supply-side considerations

“calculate[d] an inflated measure of damages.” MacDougall, 2020 WL 5583534, at *5. There, as

in this case, Boedeker measured only the change in customers’ “willingness to pay” for a defective

product. Id. The court in MacDougall found that

       measuring damages solely through the lens of a consumer’s [willingness to pay]
       overestimates a consumer’s damages because even if a consumer has a reduced

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        [willingness to pay] for a defective or undesirable product, the consumer does not
        suffer any loss if their reduced [willingness to pay] remains greater than the actual
        cost of the product.

Id. Thus, “[t]he integration of accurate and realistic supply-side considerations . . . plays a critical

role in producing an accurate measure of damages.” Id. Because “without the integration

of accurate supply-side considerations, a choice-based conjoint analysis transforms into a formula

missing half of the equation,” the court struck Boedeker’s report. Id. at *6.

        At most, Boedeker suggests that he will “incorporate the supply side” by considering the

prices consumers paid in the “actual world.” Id. ¶ 54. But, as discussed above, Boedeker’s model

contemplates a fixed supply, and because has not actually designed the conjoint survey there is no

way for the Court to assess whether the prices in his survey will accurately reflect supply. The

court in MacDougall rejected this same argument because Boedeker’s conjoint survey used

random price values. 2020 WL 5583534 at *6. Because Boedeker offers even less assurance that

his survey will be reliable here—and because the Court cannot evaluate any such survey because

Boedeker has not yet done any of the necessary work—Boedeker’s report should be stricken.

IV.     CONCLUSION

        For the foregoing reasons, Defendant respectfully requests that the Court exclude Mr.

Boedeker’s report and testimony.




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    This the 3rd day of May, 2021.

                                     Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that the foregoing document was filed via the Court’s

CM/ECF system, which will send electronic notification to all counsel of record.

       This the 3rd day of May, 2021.

                                                    /s/ Beth A. Bryan
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